      Case 1:20-cv-09879-AJN-DCF Document 34 Filed 12/04/20 Page 1 of 7




                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK

E.G., individually and as parent and natural
guardian of A.I. and L.I., minor children;
M.M., individually and as parent and natural
guardian of E.H., L.H., Ev.P., and E.P.,
minor children; O.M., individually and as
parent and natural guardian of A.M., a minor    CIVIL ACTION NO. 1:20-cv-9879 (AJN)
child; and COALITION FOR THE
HOMELESS, on behalf of themselves and
all others similarly situated,
                Plaintiffs,

       v.

THE CITY OF NEW YORK; NEW YORK
CITY DEPARTMENT OF EDUCATION;
RICHARD A. CARRANZA, as Chancellor of
the New York City Department of Education;
NEW YORK CITY DEPARTMENT OF
SOCIAL SERVICES; STEVEN BANKS, as
Commissioner of the New York City
Department of Social Services; NEW YORK
CITY DEPARTMENT OF HOMELESS
SERVICES; JOSLYN CARTER, as
Administrator of the New York City
Department of Homeless Services; NEW
YORK CITY HUMAN RESOURCES
ADMINISTRATION; GARY JENKINS as
Administrator of the New York City Human
Resources Administration; NEW YORK
CITY DEPARTMENT OF INFORMATION
TECHNOLOGY AND
TELECOMMUNICATIONS; and JESSICA
TISCH, as Commissioner of the New York
City Department of Information Technology
and Telecommunications,,

              Defendants.


 DECLARATION OF ERICA DEAN IN SUPPORT OF DEFENDANTS’ OPPOSITION
      TO PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION

       I, Erica Dean, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury as follows:

                                               1
       Case 1:20-cv-09879-AJN-DCF Document 34 Filed 12/04/20 Page 2 of 7




       1.      I am Chief of Staff at the New York City Department of Homeless Services

(“DHS”)which is an administrative unit of the New York City Department of Social Services

(“DHS”). My responsibilities include [organizing and prioritizing critical issues and synthesizing

information for the DHS Administrator, leading/managing special projects as they arise,

collaborating closely with the DHS Administrator and senior level staff in developing policies

and procedures to promote a stronger integration of city- and agency-wide services, and working

with DOE to provide information about families/students with iPad-related problems and

coordinating with DoITT for shelter access for the City’s WiFi installation plan. I submit this

Declaration in support of the defendants’ opposition to plaintiffs’ motion for a preliminary

injunction. I am familiar with the matters set forth herein, based on my personal knowledge,

experience and observations, conversations with DHS staff, and review of documents.

       2.      DHS currently operates 245 shelter buildings that provide housing for families

experiencing homelessness. DHS brings on new sites and closes sites regularly, so this number

fluctuates. These shelters serve approximately 10,000 families and approximately 12,000

school-age children.

       3.      On March 15, 2020, Mayor de Blasio announced that New York City’s vast

system of over 1,800 public schools would close as a result of the Covid-19 pandemic and would

undertake the enormous challenge of shifting to educating 1.1 million students remotely. In

response, the City rapidly secured technology and internet access for hundreds of thousands of

students, including those students that reside in shelters operated by DHS.

       4.      The City was able to secure approximately 300,000 ipads enabled with unlimited

T-Mobile cellular service and distributed them to students, prioritizing distribution to students

residing in shelter. During March and April 2020, DHS coordinated with the New York City



                                                 2
      Case 1:20-cv-09879-AJN-DCF Document 34 Filed 12/04/20 Page 3 of 7




Department of Education (“DOE”) and the New York City Department of Information

Technology and Telecommunications (“DoITT”) to ensure that students at DHS shelters

received an ipad.

       5.      After the ipads were distributed in the spring, DHS received some reports that

students were having difficulty utilizing the ipad that DOE provided, but those reports mainly

related to challenges with logging in and the platforms and applications schools were utilizing as

well as the general learning curve relating to the new technology. In July DHS began to hear

some complaints about students enrolled in summer school having difficulty with connecting to

the internet, but the magnitude of the those reports greatly increased when schools reopened in

the middle of September. Even then, while some of the students appeared to be having difficulty

connecting to the internet; other students needed assistance with other non-connectivity problems

such as logging into the various applications. DHS communicated these issues to DOE, and

throughout October and November worked to identify shelters where a number of students were

reporting difficulty utilizing the ipads they had received in the Spring and to then communicate

that information to DOE.

       6.      DHS understands that after DOE visited several shelters in early October and

performed some testing, DOE determined that, for students who were in fact having trouble

consistently connecting to the internet using the T-Mobile enabled ipads, DOE would switch the

student to an ipad enabled with Verizon cellular service.

       7.      In October, DOE began to send technicians to shelters where DHS had received

complaints to swap ipad SIM cards to Verizon service, provide replacement ipads as needed and

to generally assist families with any other problems utilizing the ipads. DHS staff and DHS




                                                3
       Case 1:20-cv-09879-AJN-DCF Document 34 Filed 12/04/20 Page 4 of 7




contracted shelter staff assisted the DOE technicians in contacting shelter residents in order to

swap the devices.

       8.      DOE also established an IT phone helpdesk, originally available from 6 am to 5

pm and later extended to 9 pm, dedicated solely to responding to technological questions and

problems experienced by students residing in shelters. DHS worked with DOE to notify families

residing at all shelters about the helpdesk and the hours families could call for assistance,

including by distributing flyers, translated into several languages, under residents’ doors and

posting notices at the shelters regarding the availability of the dedicated DOE helpdesk.

       9.      With input from DOE, DHS also developed a survey to be conducted by shelter

staff, either in person or on the phone, with families with school-aged children who were

utilizing an ipad they received from DOE and consented to the survey. The survey was designed

to identify families that were having any issue with the DOE-issued ipad, including, but not

limited to, connecting to the internet. The survey also asked families whether they had used

non-DOE issued devices to participate in remote learning or had used a personal hotspot, public

WiFi or traveled to another location in order to participate in remote learning.

       10.     At the end of October, the staff at DHS shelters began contacting all families with

school-aged children residing at DHS shelters and identified approximately 2,700 families that

reported some form of a problem with their DOE-issued ipad or ipads.        Some, but not all, of the

problems involved the inability to connect to the internet.

       11.     Families were also asked whether they would consent to DHS sharing the

information collected through the survey, including their contact information, with DOE. DHS

provided DOE with information collected through the survey from approximately 2,200 families

that consented to DOE contacting them. DHS is continuing to work with contracted shelter



                                                  4
        Case 1:20-cv-09879-AJN-DCF Document 34 Filed 12/04/20 Page 5 of 7




provider staff to persuade the remaining families who reported problems to consent to allow

DHS to share their contact information with DOE and to connect them to the DOE technicians

when they are onsite.

        12.    When DOE has been unable to resolve an issue by phone, DOE has been sending

technicians onsite to each shelter to contact each of the 2,200 families that consented to be

contacted in an effort to resolve each of their issues, whether or not they involve connectivity.

Shelter staff assist the technicians in contacting the families that have reported an issue,

coordinating with families that cannot be available while the technician is on-site, and contacting

other families to determine if they are having a problem that the technician can address while on-

site.

        13.    When the Mayor directed the roll-out of WiFi at all New York City shelters in

late October, DHS coordinated with DoITT to determine the list of shelters that would need WiFi

installation. While we considered having individual shelters providers install WiFi in each room,

that procurement process would have taken longer than the DoITT installation schedule.

        14.    There are 171 DHS shelter buildings on the list for WiFi installation. DHS also

provided DoITT with a list of 27 shelters to prioritize for WiFi installation based on the number

of complaints DHS had received from families and students at those shelters. As DHS continued

to collect additional information, 3 additional sites were added to the priority list. DoITT’s

contractors have commenced work at 19 of the priority sites, along with 10 additional sites.

        15.    In addition to the DoITT plan for WiFi installation, DHS operates shelters at 34

commercial hotels, which are already wired for in-unit WiFi. DHS has worked with these hotels

to connect the WiFI in the rooms of shelter residents. To date, all residents at these hotels have

WiFi access in their rooms.



                                                  5
       Case 1:20-cv-09879-AJN-DCF Document 34 Filed 12/04/20 Page 6 of 7




       16.     There are also an additional 30 DHS shelters in which residents already have

WiFi access. In most cases, the wiring extends through the hallways of the building, but not into

the apartments. These shelters are included on DoITT’s list of shelters because DoITT’s plan is

to provide all of the shelters with WiFi access points within each apartment.

       17.     DHS currently provides housing to some families at 39 Cluster shelter sites.

These are apartments in residential apartment buildings that are rented by DHS service providers,

who enter into a lease for those apartments. DHS is no longer placing new families in these

apartments and is in the process of closing down all the Cluster sites. For those reasons, DoITT

is not installing WiFi at these sites. During the phaseout of these Cluster sites, to the extent

families in these locations report difficulty connecting to the internet they will receive a Verizon-

enabled ipad and support from a DOE technician.

       18.     There are also 16 shelter buildings that DHS has slated for closure over the next

few months. The families in these facilities will be moved to other shelters or transitioned to

other non-shelter housing in the community. DoITT is therefore not installing WiFi at these

sites. To the extent families in these shelters report difficulty connecting to the internet they will

receive a DOE Verizon-enabled ipad and support from a DOE technician.1

       19.     Two of the named plaintiffs reside at DHS shelters. The first, O.M., resides at a

shelter that is on the priority list for WiFi installation. Construction by DoITT’s contractor is

currently underway at the shelter and progressing. As this Plaintiff reports, on September 30, he




1
  There is one shelter that only serves families with infants. DoITT is not installing WiFi at this
site.
                                                  6
      Case 1:20-cv-09879-AJN-DCF Document 34 Filed 12/04/20 Page 7 of 7




received a new DOE issued ipad enabled with Verizon service. A second named Plaintiff, E.G.,

received new DOE issued ipads enabled with Verizon service on December 1.

       DATED this 4th day of December 2020 at New York, New York.




                                                 ________________________________
                                                   ERICA DEAN




                                             7
